Case 1:23-bk-10918-MB              Doc 16       Filed 08/17/23       Entered 08/17/23 10:07:18          Desc
                                                 Page 1 of 4


 Elizabeth F. Rojas
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                             UNITED STATES BANKRUPTCY COURT
               CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEY DIVISION

     IN RE                                                CHAPTER 13
                                                          CASE NO. 1:23-bk-10918-MB
     Salvador Andrade
                                                          TRUSTEE'S OBJECTION TO CONFIRMATION
                                                          OF PLAN; DECLARATION; NOTICE OF
                                                          POSSIBLE DISMISSAL OR CONVERSION

                                                          DATE/TIME: September 7, 2023 9:30 am
                                       DEBTOR             21041 Burbank Blvd.
                                                          Courtroom 303
                                                          Woodland Hills, CA 91367-1367


The Trustee objects to confirmation of the plan because all requirements for confirmation as set forth in Title
11 of the United States Code and the Rules have not been met.

The Trustee requests, should all requirements not be met, that confirmation of the plan be denied, the case
be dismissed or converted to Chapter 7 and for such other relief as the Court may deem appropriate.

THE FAILURE OF THE DEBTOR (OR THE ATTORNEY FOR THE DEBTOR) TO APPEAR AT THE
CONFIRMATION HEARING, OR TO FULLY COMPLY WITH ALL REQUIREMENTS FOR PLAN
CONFIRMATION, MAY RESULT IN DISMISSAL OR CONVERSION OF THE CASE.



DATED: August 17, 2023                                                        /s/ Elizabeth F. Rojas


       I, Elizabeth F. Rojas, declare as follows:

1.     I am the Trustee in this matter, Salvador Andrade, 1:23 -bk-10918-MB, and I have personal knowledge
       of files and records kept by my office in the regular course of business. I have personally reviewed the
       files and records kept by my office in the within case. The following facts are true and correct and
       within my own personal knowledge and I could and would testify competently thereto if called upon to
       do so.

2.     I object to confirmation of the proposed plan because of the deficiencies set forth in the attached which
       is incorporated herein by reference. These deficiencies existed prior to or at the time of the
       11 USC §341(a) meeting in this matter.

       I declare under penalty of perjury that the foregoing is true and correct.

Executed at Sherman Oaks, California on August 17, 2023.                      /s/ Elizabeth F. Rojas
Case 1:23-bk-10918-MB            Doc 16      Filed 08/17/23          Entered 08/17/23 10:07:18           Desc
                                              Page 2 of 4
                                                                  1:23-bk-10918-MB        Salvador Andrade


I oppose plan confirmation because the Debtor has failed to:


         schedule debts within the limits of 11 USC §109(e); and therefore ineligible; and/or Debtor is not
         eligible to be a Chapter 13 Debtor as follows:

         disclose [11 USC §521, LBR 1017-1(b)]
               assets      creditors   income            prior case


         serve all creditors using court mandated notice form with a copy of the plan pursuant to FRBPs
         2002(b), 7004 and LBR 3015-1(b)(3);

     X provide the Trustee documentation of all income (as well as any contributor's income) seven
         days before the §341(a) Meeting of Creditors. LBR 3015-1(c)(3), 11 USC § 521;
         - 2022 Tax Return (once filed)

         meet the business reporting requirements regarding Debtor's business or self-employment, LBR
         3015-1(c)(4);

     X provide to the Trustee completed copies of the Federal and State income tax returns, 11 USC §§
         1308 and 521, LBR 3015-1(c)(3).
         - 2022 Tax Return (once filed)

         propose a plan that is feasible 11 USC § 1325(a)(6); the plan may be infeasible because
                     certain claims are not included and/or the amount provided is insufficient

Comparison of Filed Claims to Claims Stated in Plan :
Creditor                Acct #          Class            Claim             Plan          Notes
BMW (430i Gran Coupe)9413/clm#4         U; Sch F         $14,180/def bal   ched F        Car Lease
Ford (2019 Fusion Hybrid4328/clm#5-1    U/Sch F          $10,759/jmt       sched F       Car Lease
Toyota (2020 Toyota Coro1425/clm#6      U/Schd F         $16,509 def bal   sched F       leasevin 4644
Toyota (2020 Toyota CoroZ555/clm#9                       $1,085            SURRENDER     leasevin 0739
Mercedes-Benz (Mercede7001/clm#8                         $38,048def bal    sched F       car loan

                     income is not sufficient enough to fund it

                     plan payment will not retire debt within term

                     the plan does not propose treatment and/or properly treat all scheduled, priority
                     and/or secured creditors; and/or plan deficiencies as follows:

     X   propose a plan that represents the Debtor 's best effort 11 USC §1322; 11 USC §1325
                  X unreasonable and/or unnecessary expenses are scheduled
                    - Provide copy of car notes with payoff date: $437 2022 Hyundai Sonata lease
                   (Loan taken out by girlfriend - Debtor pays for vehicle )
                  X the budget surplus exceeds the monthly plan payment
                    - Debtor has surplus income per evidence provided.: net YTD income $5,470 vs
                   $4,609 scheduled (add back voluntary retirement and garnishment )
                    comply with the Means Test as required by the Code, In re Kagenveama, 541 F3d
                    868, and/or In re Lanning, 1330 S.Ct.2464

         propose a plan that provides creditors as much as would be received under Chapter 7
         11 USC §1325(a)(4).

     X other issues as stated below:
Case 1:23-bk-10918-MB   Doc 16   Filed 08/17/23   Entered 08/17/23 10:07:18   Desc
                                  Page 3 of 4
        Case 1:23-bk-10918-MB                   Doc 16         Filed 08/17/23           Entered 08/17/23 10:07:18                    Desc
                                                                Page 4 of 4
 In Re: Salvador Andrade                                                                       Chapter 13

                                                                               Debtor(s)       Case Number: 1:23-bk-10918-MB


                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
15260 Ventura Blvd., Suite 710, Sherman Oaks, CA 91403


A true and correct copy of the foregoing document entitled: TRUSTEE'S OBJECTION TO CONFIRMATION OF PLAN;
DECLARATION; NOTICE OF POSSIBLE DISMISSAL OR CONVERSION will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005 -2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders
and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On 8/17/2023, I
checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are
on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

UNITED STATES TRUSTEE (SV): USTPREGION16.SV.ECF@USDOJ.GOV
RABIN J POURNAZARIAN: ENOTICE@PRICELAWGROUP.COM

                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On 8/17/2023, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
completed no later than 24 hours after the document is filed.

SALVADOR ANDRADE, 13780 DAVENTRY STREET, PACOIMA, CA 91331

                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL :
Pursuant to F.R.Civ.P.5 and/or controlling LBR, on 8/17/2023, I served the following persons and/or entities by personal
delivery, overnight mail service, or (for those who consented in writing to such service method ), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.


                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


8/17/2023                    Roderick Mathieson                                               /s/ Roderick Mathieson
 Date                        Printed Name                                                       Signature




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

 June 2012
                                                                                                F 9013-3.1.PROOF.SERVICE
